                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                3:14-CR-00031-RJC
 USA                                           )
                                               )
       v.                                      )              ORDER
                                               )
 TERRENCE WILLIAMS                             )
                                               )

            THIS MATTER is before the Court upon motion of the defendant pro se to

reconsider the sentence imposed when his supervised release was revoked. (Doc. No.

62).

            The United States Court of Appeals for the Fourth Circuit has ruled that

neither the federal statutes nor the Rules of Criminal Procedure authorize a motion

for reconsideration in a criminal case. United States v. Breit, 754 F.2d 526, 530 (4th

Cir. 1985) (“[D]efendant’s remedies are limited by the statutes and Federal Rules of

Criminal and Appellate Procedure . . .”). Accordingly, a defendant must file a notice

of appeal within 14 days after the entry of the order being appealed. Fed. R. App. P.

4(b)(1)(A)(i). However, the instant motion was filed after the defendant’s appeal,

(Doc. No. 57), was dismissed for failure to prosecute, (Doc. No. 61: Order and

Mandate).

            IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 62),

is DISMISSED.




              Case 3:14-cr-00031-RJC Document 63 Filed 09/25/20 Page 1 of 2
       The Clerk is directed to certify copies of this Order to the defendant and the

United States Attorney.

 Signed: September 25, 2020




                                           2

          Case 3:14-cr-00031-RJC Document 63 Filed 09/25/20 Page 2 of 2
